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   1                          UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
   2                               SOUTHERN DIVISION

   3      UNITED STATES OF AMERICA,

   4                   Plaintiff,

   5       v                                    No. 19-CR-20025-1

   6
          ASWANTH NUNE,
   7
                     Defendant.
   8      _________________________/

   9
                                       PLEA HEARING
  10
                       BEFORE THE HONORABLE GERSHWIN A. DRAIN
  11                        UNITED STATES DISTRICT JUDGE
                       Theodore Levin United States Courthouse
  12                        231 West Lafayette Boulevard
                                 Detroit, Michigan
  13                           Wednesday, May 8, 2019

  14    APPEARANCES:

  15
          For the Plaintiff:           MR. RONALD WATERSTREET
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   4    None

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   6    Proceedings                                                       3

   7    EXHIBITS:                       Identified                   Received
        None
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   1                   Detroit, Michigan

   2                   Wednesday, May 8, 2019 - 10:13 a.m.

   3                   THE CASE MANAGER:      All rise.      The United States

   4    District Court for the Eastern District of Michigan is now in

   5    session.     The Honorable Gershwin A. Drain presiding.

   6                   You may be seated.

   7                   The court calls the criminal matter United States

   8    of America versus Aswanth Nune.         Case Number 19-cr-20025-1.

   9                   Counsel, please state your appearances for the

  10    record.

  11                   MR. WATERSTREET:      Good morning, your Honor.

  12    Ronald Waterstreet appearing on behalf of the United States,

  13    along with Timothy McDonald, AUSA, and seated at the table is

  14    Special Agent Steven Weber.

  15                   THE COURT:     All right.       Good morning.

  16                   MR. RATAJ:     Good morning, your Honor.          Mike Rataj

  17    on behalf Mr. Nune, who stands to my left, as well as the

  18    interpreter for this matter.

  19                   THE COURT:     All right.       Good morning to you also,

  20    Mr. Rataj.

  21                   MR. RATAJ:     Good morning, judge.

  22                   THE COURT:     All right.       Since we have an

  23    interpreter, I'm going to have my case manager administer the

  24    interpreter's oath.

  25                   THE CASE MANAGER:      Do you solemnly swear that you
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   1    will translate the oath in such questions shall be put to this

   2    defendant from the English language to the Hindi language and

   3    his answers from the Hindi language to the English language to

   4    the best of your ability?

   5                   THE INTERPRETER:        Yes, I do.

   6                   THE CASE MANAGER:       Thank you.

   7                   Please state your name for the record?

   8                   THE INTERPRETER:       Syed Zaman, interpreter for Mr.

   9    Nune.

  10                   THE COURT:     Okay.    All right.     As I understand it,

  11    the defendant wants to tender a plea of guilty to the charge;

  12    is that correct?

  13                   MR. RATAJ:     That is correct, your Honor.

  14                   THE COURT:     All right.       Mr. Rataj, why don't you

  15    and your client approach the podium.

  16                   MR. RATAJ:     Yes, sir.    Come on.

  17                   THE COURT:     So, as I -- is there no Rule 11 in

  18    this case?

  19                   MR. RATAJ:     We will do an open plea in this case,

  20    your Honor.

  21                   THE COURT:     Okay.    All right.

  22                   MR. WATERSTREET:       Your Honor, for the record, one

  23    was offered to him and it was below the anticipated guideline

  24    range, but after discussion apparently they decided not to

  25    accept that plea offer.
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   1                   THE COURT:     Okay.

   2                   MR. RATAJ:     Well, your Honor, if I may?

   3                   THE COURT:     Okay.

   4                   MR. RATAJ:     We don't want to be bound by any of

   5    the, some of the provisions that were set forth in the Rule 11.

   6    There's, you know, obviously there's some risk involved that I

   7    explained to my client, but I was prepared to proceed as, with

   8    an open plea on this matter.

   9                   THE COURT:     Okay.     All right.    And is it "Nune"?

  10                   MR. RATAJ:     "Nune".

  11                   THE COURT:     "Nune".

  12                   THE DEFENDANT:     "Nune", yes.

  13                   THE COURT:     All right.       Mr. Nune, let's see, I'm

  14    going to have my case manager administer an oath to you.

  15                   THE CASE MANAGER: Please raise your right hand.

  16    Do you solemnly swear or affirm that the testimony you are

  17    about to give to the Court in this matter here pending shall be

  18    the truth, the whole truth, and nothing but the truth?

  19                   THE DEFENDANT:     (Nodding head).

  20                   THE CASE MANAGER:        Please state your full name for

  21    the record.

  22                   THE DEFENDANT:     Aswanth Nune.

  23                   MR. WATERSTREET:       Your Honor, for the benefit of

  24    the record, all the discussions were in English, all the

  25    recordings are in English, and I think the interpreter is here
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   1    mainly for the benefit of if there is any issues in his

   2    understanding maybe a particular word or phrase.              I'm sure a

   3    word by word interpretation is not needed based on my

   4    understanding.

   5                   Counsel, may have a different opinion.

   6                   MR. RATAJ:     Your Honor, Mr. Waterstreet is

   7    correct.    My, my client does have a decent grasp of the English

   8    language; however, out of an abundance of caution to make sure

   9    that there's absolutely no issues with whether he understood

  10    what your Honor asks him or what Mr. Waterstreet asks him in

  11    connection with this plea, I felt it was in everybody's better

  12    interest that we have an interpreter so there's no issues about

  13    whether he understood what was going on.

  14                   THE COURT:     Okay.

  15                   Well, just out of curiosity, do you want to have

  16    every word interpreted or do you want the interpretation on an

  17    as needed basis?

  18                   MR. RATAJ:     I believe in, and I'm going, in my

  19    opinion I believe that it should be done on an as needed basis.

  20    I agree with Mr. Waterstreet on that.           Okay.

  21                   THE COURT:     Okay.

  22                   MR. RATAJ:     If he doesn't understand something, he

  23    can turn to the interpreter and ask the interpreter to state

  24    it.

  25                   But I don't think, in my opinion, because I've
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   1    been able to communicate with him numerous visits to Midland,

   2    there have been a couple times where maybe he didn't understand

   3    exactly what I was saying, I'd have to repeat it, but in

   4    general proposition I agree with the government that he does

   5    have a decent grasp of the English language, but again as an

   6    abundance of caution I wanted to make sure we had an

   7    interpreter here in case there was some issue.

   8                   So, we don't need to do it on a word by word

   9    basis, so --

  10                   Do you understand, okay, if you don't understand

  11    something, then you can turn to the interpreter and he can

  12    interpret, but he doesn't have to say every word.

  13                   THE DEFENDANT:     Okay.

  14                   MR. RATAJ:     I agree, judge.

  15                   THE COURT:     Okay.

  16                   All right.     Let's proceed in that fashion and Mr.

  17    Nune if I say something or use a word that you don't

  18    understand, we can stop and you can ask the interpreter to

  19    explain it to you, or to interpret what I've said?

  20                   THE DEFENDANT:     Yes.

  21                   THE COURT:     Are you with me?

  22                   THE DEFENDANT:     Yes, sir.

  23                   THE COURT:     All right.       So, do you understand, Mr.

  24    Nune, that you are now under oath and if you answer any of my

  25    questions falsely, your answers may later be used against you
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   1    in another prosecution for perjury or false statement; do you

   2    understand that?

   3                   THE DEFENDANT:     Yes, I understand.

   4                   THE COURT:     Okay.

   5                   And, Mr. Nune, what's your full name?

   6                   THE DEFENDANT:     Aswanth Nune.

   7                   THE COURT:     Okay.   And how old are you?

   8                   THE DEFENDANT:     Twenty-seven.

   9                   THE COURT:     And how far did you go in school?

  10                   THE DEFENDANT:     2017.

  11                   THE COURT:     Okay.

  12                   THE DEFENDANT: February 2017.

  13                   THE COURT:     What grade level did you achieve?

  14                   Did you graduate from high school or have you had

  15    college?

  16                   THE DEFENDANT:     I have done with my Master's,

  17    sir.    I have done with my Master's in California.

  18                   THE COURT:     Okay.   You have a Master's in

  19    California?

  20                   THE DEFENDANT:     Yes, sir.

  21                   THE COURT:     And what was your Master's Degree in?

  22                   THE DEFENDANT:     Computer science.

  23                   THE COURT:     Okay.   So, have you gone beyond a

  24    Master's Degree?

  25                   THE DEFENDANT:     No, sir.
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   1                   THE COURT:     Okay.

   2                   So, again, if at any point you don't understand

   3    anything I'm saying, again, stop me, let me know, and we'll use

   4    the interpreter at that point.

   5                   THE DEFENDANT:     Sure, sir.

   6                   THE COURT:     Okay.   So have you been treated

   7    recently for any type of mental illness or addiction to alcohol

   8    or narcotics?

   9                   THE DEFENDANT:     No, sir.

  10                   THE COURT:     Okay.   And so, again, I'm going to ask

  11    you a lot of questions.       I'm required to do this.         And if you

  12    have any questions of Mr. Rataj, you can ask him, too.

  13                   So, are you currently under the influence of any

  14    kind of drugs, medication, or alcoholic beverage?

  15                   THE DEFENDANT:     No, sir.

  16                   THE COURT:     Okay.   And have you received a copy of

  17    the indictment that's been filed against you?

  18                   THE DEFENDANT:     Yes, sir.

  19                   THE COURT:     Have you had a chance to talk to Mr.

  20    Rataj about it?

  21                   THE DEFENDANT:     Yes, sir.

  22                   THE COURT:     And has he been able to answer

  23    questions you've had about it?

  24                   THE DEFENDANT:     Yes, sir.

  25                   THE COURT:     And are you satisfied with the advice
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    1    and the counsel he's given you?

    2                   THE DEFENDANT:     Yes, sir.

    3                   THE COURT:    And so, has anyone forced you to plead

    4    guilty?

    5                   THE DEFENDANT:     No, sir.

    6                   THE COURT:    Has anyone threatened you or told you

    7    that you must plead guilty?

    8                   THE DEFENDANT:     No, sir.

    9                   THE COURT:    And are you doing it freely and

   10    voluntarily?

   11                   THE DEFENDANT:     Yes, sir.

   12                   THE COURT:    And are you pleading guilty because

   13    you are guilty?

   14                   THE DEFENDANT:     Yes, sir.

   15                   THE COURT:    And so, do you understand that the

   16    normal maximum sentence the Court could impose on this case is

   17    a sentence of up to five years in prison and the minimum

   18    sentence would be a term of probation, you understand that?

   19                   THE DEFENDANT:     I understand, sir.

   20                   THE COURT:    Do you also understand that there's a

   21    potential fine in the case?

   22                   I could not impose a fine or I could impose a fine

   23    of up to $250,000; do you understand that?

   24                   THE DEFENDANT:     I understand, sir.

   25                   THE COURT:    And also there's a potential period of
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    1    supervised release that could be up to three years, or there

    2    could be no supervised release; do you understand that?

    3                   THE DEFENDANT:     Yes, sir.

    4                   THE COURT:    All right.       And are you presently on

    5    any type of probation or parole, or do you have any other

    6    pending cases right now?

    7                   THE DEFENDANT:     No, sir.

    8                   THE COURT:    And you are a citizen of what country?

    9                   THE DEFENDANT:     India, sir.

   10                   THE COURT:    Where?

   11                   THE DEFENDANT:     India.

   12                   THE COURT:    India?

   13                   THE DEFENDANT:     Yes.

   14                   THE COURT:    Okay.    And so do you understand that

   15    there are some collateral consequences that can flow from you

   16    pleading guilty here; do you understand that?

   17                   THE DEFENDANT:     I understand, sir.

   18                   THE COURT:     And do you understand that there's a

   19    good likelihood that you'll be deported after this case, you

   20    understand that?

   21                   THE DEFENDANT:     I understand, sir.

   22                   THE COURT:    And do you also understand that

   23    there's some additional -- well, let me say this.

   24                   You will probably be deported, you understand

   25    that?
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    1                   THE DEFENDANT:     I understand, sir.

    2                   THE COURT:    Do you also understand that your

    3    efforts to come back into this country in the future will be

    4    hindered as a result of this case, you understand that?

    5                   THE DEFENDANT:     Understand.

    6                   THE COURT:    It's going to be harder than anybody

    7    else to try to get back into this country for any reason, you

    8    understand that?

    9                   THE DEFENDANT:     Understand.

   10                   THE COURT:    And there are also some other

   11    additional consequences that flow from having a felony

   12    conviction.

   13                   Do you have any prior felony convictions at all?

   14                   THE DEFENDANT:     No, sir.

   15                   THE COURT:    For example, when you have a felony

   16    conviction in this country, in this state, you cannot possess a

   17    firearm, you understand that?

   18                   THE DEFENDANT:     Understand, sir.

   19                   THE COURT:     With a felony conviction you can't

   20    hold certain licenses or get certain jobs.

   21                   You can't hold certain offices.

   22                   You can't serve on juries in certain states.

   23                   So there's additional things that happen to you as

   24    a result of having a felony conviction, you understand that?

   25                   THE DEFENDANT:     Understand, sir.
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    1                   THE COURT:    Okay.    And there's also a $100 special

    2    assessment that I have to impose on your case.             So I'm going to

    3    assess you $100 as a result of this case; do you understand

    4    that?

    5                   THE DEFENDANT:     Understand, sir.

    6                   THE COURT:    And so, again, what's going to happen

    7    after today is that I'll be sentencing you and I don't know

    8    what, what the sentence will be, but what's going to happen is

    9    I will receive a presentence report that details your

   10    background and your history.         I'll learn all of that.        I'll

   11    learn about this case and your involvement in this case.                  I'll

   12    also find out what the sentencing guidelines are, and I don't

   13    know what they are right now.

   14                   And I'm going to ask both counsel what you two

   15    believe the guidelines are just for my information.

   16                   MR. WATERSTREET:      Your Honor, I've done a

   17    preliminary calculation.       It's 15 to 21 months.

   18                   THE COURT:    Okay.

   19                   Do you have a different interpretation of the

   20    guidelines than that, Mr. Rataj?

   21                   MR. RATAJ:    I do not, your Honor.

   22                   THE COURT:    Okay.    Okay.

   23                   So, Mr. Nune, the guidelines that control your

   24    case suggest to me that you should receive a sentence somewhere

   25    in the range of 15 to 21 months in custody; do you understand
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    1    that?

    2                   THE DEFENDANT:     Understand, sir.

    3                   THE COURT:    Okay.   And I don't know what I'm going

    4    to do.    I could sentence you in that range; I can go below

    5    that, or I can go above it, you understand that?

    6                   THE DEFENDANT:     I understand, sir.

    7                   THE COURT:    So, again, there's a lot of things

    8    that I look at for sentencing purposes, including there is a

    9    statute that tells me of some specific things I have to look at

   10    and talk about when I sentence you, you understand that?

   11                   THE DEFENDANT:     Understand, sir.

   12                   THE COURT:    Okay.   All right.      And so, let me also

   13    talk to you about the rights that you give up when you enter a

   14    plea of guilty.

   15                   You have previously entered a not guilty plea on

   16    this case, or one has been entered on your behalf.

   17                   So, do you understand that you don't have to plead

   18    guilty if you don't want to and you can have a trial on the

   19    case; do you understand that?

   20                   THE DEFENDANT:     I understand, sir.

   21                   THE COURT:    Okay.   And at the trial you would have

   22    the right to be presumed innocent and the government would have

   23    to prove you guilty beyond a reasonable doubt, you understand

   24    that?

   25                   THE DEFENDANT:     Understand, sir.
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    1                   THE COURT:    And then also at a trial if the

    2    government and I agree, you could have a trial by judge instead

    3    of a trial by jury; do you understand that?

    4                   THE DEFENDANT:     Understand, sir.

    5                   THE COURT:    Okay.   And also at a trial Mr. Rataj

    6    could represent you throughout the trial.           He could do all the

    7    things that lawyers normally do during a trial:             Ask a lot of

    8    questions, cross-examine witnesses, help you pick a jury, you

    9    know, help me prepare jury instructions.

   10                   There's a lot of things that lawyers do and he

   11    would be available to do all of those things, you understand

   12    that?

   13                   THE DEFENDANT:     I understand, sir.

   14                   THE COURT:    And so, do you also understand that at

   15    a trial the government would have to bring in witnesses to

   16    testify against you, and, again, he could question those

   17    witnesses, you understand that?

   18                   THE DEFENDANT:     Understand, sir.

   19                   THE COURT:    And then at a trial if you wanted to

   20    remain silent, you could do that, or if you wanted to testify,

   21    you could do that also; do you understand that?

   22                   THE DEFENDANT:     Understand, sir.

   23                   THE COURT:    And if you elected not to testify,

   24    that couldn't be used against you in any way; do you understand

   25    that?
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    1                   THE DEFENDANT:       I understand, sir.

    2                   THE COURT:    Okay.     And then at a trial if you

    3    wanted to call witnesses and present a defense or have

    4    witnesses testify for you, I would help you bring in witnesses

    5    with subpoenas; do you understand that?

    6                   THE DEFENDANT:       Understand, sir.

    7                   THE COURT:     Okay.

    8                   So, is it clear to you, Mr. Nune, that by entering

    9    this plea of guilty you will stand convicted of this charge and

   10    there will be no trial on your case, you understand that?

   11                   THE DEFENDANT:       Understand, sir.

   12                   THE COURT:    Okay.

   13                   In this case you are charged with conspiracy to

   14    commit visa fraud and to harbor aliens for profit.              And it says

   15    in the indictment that from on or about June of 2017 through

   16    January of 2019 that you were involved in having foreign

   17    citizens come here and you assisted them in illegally remaining

   18    in the country and reentering and working in the United States,

   19    and that you recruited people to enroll into the school for

   20    financial gain.

   21                   And so tell me what you did with regard to this

   22    case?   What your involvement in it was?

   23                   MR. WATERSTREET:       Your Honor, if I may, can I go

   24    through question and answer period?

   25                   THE COURT:    Yes.     Yes, you may.
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    1                   MR. WATERSTREET:     Thank you.

    2                   THE COURT:    To establish the factual basis here.

    3                   MR. WATERSTREET:     To try to establish the factual

    4    basis, yes.

    5                   THE COURT:    All right.

    6                   MR. WATERSTREET:     Mr. Nune, you previously told

    7    the Court you're a citizen of India.          You are not a citizen of

    8    the United States, are you?

    9                   THE DEFENDANT:     No.   Citizen of India.

   10                   MR. WATERSTREET:     Just India.

   11                   And you entered the United States approximately

   12    2015 when you went to go to Northwestern Polytechnic

   13    University?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. WATERSTREET:     In California?

   16                   THE DEFENDANT:     Yes, sir.

   17                   MR. WATERSTREET:     And you knew as a foreign

   18    student your status would only remain valid if you were

   19    enrolled as a full-time student making progress toward

   20    completion of your field of study, correct?

   21                   THE DEFENDANT:     Yes, sir.

   22                   MR. WATERSTREET:     So you had to maintain being a

   23    full-time student, you couldn't just stop and go work someplace

   24    else, right?

   25                   THE DEFENDANT:     Yes, sir.
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    1                   MR. WATERSTREET:     Okay.     And you're familiar with

    2    something called the Form I-20, right?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. WATERSTREET:     And you learned about that as

    5    part of your process of coming here to the United States?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. WATERSTREET:     And remaining here in the United

    8    States?

    9                   THE DEFENDANT:     Yes.

   10                   MR. WATERSTREET:     And that allows you to apply for

   11    an F-1 visa to come here to the United States?

   12                   THE DEFENDANT:     Yes, sir.

   13                   MR. WATERSTREET:     And it's proof of your legal and

   14    academic status here in the United States; is that right, that

   15    I-20?

   16                   THE DEFENDANT:     Yes, sir.

   17                   MR. WATERSTREET:     And it can be used as an entry

   18    document when you travel abroad and you come back to the United

   19    States?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. WATERSTREET:     And it allows a student to

   22    participate it practical training like OPT or CPT, correct?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:     And it's a document that you use

   25    when you transfer from one school to another school from, let's
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    1    say, Northwestern Polytechnic to University of Farmington; is

    2    that right?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. WATERSTREET:     Now, in approximately January of

    5    2018 you transferred from Northwestern Polytechnic University

    6    to University of Farmington, correct?

    7                   THE DEFENDANT:     Yes.

    8                   MR. WATERSTREET:     And you filed an application and

    9    you received and I-20 from that, right?

   10                   THE DEFENDANT:     Yes.

   11                   MR. WATERSTREET:     And prior to transferring in

   12    2018 you had already started helping other students transfer

   13    from their schools to the University of Farmington, correct?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. WATERSTREET:     As far back as June of 2017?

   16                   THE DEFENDANT:     Right.

   17                   MR. WATERSTREET:     And you knew from the very

   18    beginning that the University of Farmington did not offer any

   19    classes?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. WATERSTREET:     As a matter of fact, you said

   22    the only reason you wanted to go there was to maintain your

   23    status, correct, and you knew you were not going to be

   24    attending any classes, correct?

   25                   THE DEFENDANT:     Yes, sir.
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    1                   MR. WATERSTREET:     And you knew that was not

    2    approved by the Department of Homeland Security and that it was

    3    illegal to try to just maintain your status and not attend

    4    classes, correct?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. WATERSTREET:     And you mentioned that in, you

    7    understand, that call back in June 7, 2017, correct?

    8                   THE DEFENDANT:     Yes, sir.

    9                   MR. WATERSTREET:     And at a meeting you had at the

   10    University on June 12, 2017, correct?

   11                   THE DEFENDANT:     Yes.

   12                   MR. WATERSTREET:     And as a matter of fact, during

   13    one of those meetings you told the undercover officer that you

   14    were looking just to maintain your status and you didn't want

   15    to go to classes, right?

   16                   THE DEFENDANT:     Yes.

   17                   MR. WATERSTREET:     Now, during this conspiracy you

   18    and some of your coconspirators recruited some of the students

   19    in exchange for payment, correct?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. WATERSTREET:     One of your associates was Fayze

   22    Shaik.

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:     And you and he travelled to the

   25    University of Farmington in June of 2017 to talk about the
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                                                                                   21


    1    whole process of getting people into the school, correct?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. WATERSTREET:      And during some of your

    4    conversations that occurred during that time, and subsequent,

    5    you started talking about getting paid to bring students to the

    6    school, correct?

    7                   THE DEFENDANT:     Yes.

    8                   MR. WATERSTREET:      Originally, you were going to be

    9    paid $500 per student for the first four students and then you

   10    negotiated --

   11                   THE COURT:    Hold on.    You have to give a verbal

   12    answer.    You're shaking your head, and making a sound, so you

   13    have to say, yes or no, whatever the answer is, because my

   14    court reporter is taking down everything and she needs to be

   15    able to hear your response.

   16                   THE DEFENDANT:     Okay, sir.

   17                   MR. WATERSTREET:      Thank you, your Honor.        I

   18    appreciate that.

   19                   THE COURT:    Okay.    Yes.

   20                   MR. WATERSTREET:      Originally, you negotiated for

   21    four students for $500 each, correct?

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. WATERSTREET:      And then you negotiated a deal

   24    where you'd get $1,000 per student thereafter, correct?

   25                   THE DEFENDANT:     Yes, sir.
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                                                                                   22


    1                   MR. WATERSTREET:     And you personally recruited

    2    approximately 19 or more students, correct?

    3                   THE DEFENDANT:     Yes, sir.     Eighteen.

    4                   MR. WATERSTREET:     Eighteen.

    5                   When you sent us some paperwork in an e-mail to

    6    the school when they asked you to please give a list of all the

    7    students you recruited, correct?

    8                   THE DEFENDANT:     Yes, sir.

    9                   MR. WATERSTREET:     And in that you would agree that

   10    that was the number of students that you recruited?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. WATERSTREET:     So, if it's more than 18 as you

   13    remember, that would be correct?

   14                   THE DEFENDANT:     I think it's 18, sir.

   15                   MR. WATERSTREET:     If you sent an e-mail that said

   16    more than 18?

   17                   THE DEFENDANT:     Maybe.

   18                   MR. WATERSTREET:     Maybe?

   19                   THE DEFENDANT:     Maybe.

   20                   MR. WATERSTREET:     And in the process of doing this

   21    you were, you were able to receive approximately $20,000 from

   22    the school and from students that you collected money on their

   23    behalf, correct?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. WATERSTREET:     And you also helped in the
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                                                                                   23


    1    facilitation of the issuance of the Form I-20 for some of your

    2    students, correct?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. WATERSTREET:     As a matter of fact, in August

    5    of 2018 you went to the school and picked up an I-20 for a

    6    student and their identification card, correct?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. WATERSTREET:     Additionally, you -- on that, on

    9    or about June 12th -- excuse me.         September 7, 2017 you

   10    collected $2,000 for recruiting students?

   11                   THE DEFENDANT: Yes, sir.

   12                   MR. WATERSTREET:     And then on January 19th

   13    collected another $4,000?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. WATERSTREET:     And then on June 11, 2018,

   16    collected another $1,500?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. WATERSTREET:     And then you also said as part

   19    of an e-mail that you had collected approximately $12,500 from

   20    students?

   21                   THE DEFENDANT:     Yes, sir.

   22                   MR. WATERSTREET:     And that you were going to keep

   23    that as payment for your services as a recruiter?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. WATERSTREET:     Now, you're pleading guilty to
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                                                                                   24


    1    conspiracy to harbor aliens for profit and commit visa fraud,

    2    as the judge pointed out, you understand that, correct?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. WATERSTREET:     You agree that you made an

    5    agreement with another person to conceal or harbor an alien who

    6    remained in the United States in violation of the law, correct?

    7                   THE DEFENDANT:     Yes.

    8                   MR. WATERSTREET:     You were helping students claim

    9    to be that they were going to school when they really were not

   10    and they were getting false I-20's, correct?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. WATERSTREET:     And you knew the alien remained

   13    in the United States in violation of the law?

   14                   THE DEFENDANT:     Yes, sir.

   15                   THE COURT:    And you committed this offense for

   16    private gain so you could make money?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. WATERSTREET:     You also agreed with another

   19    person to knowingly possess, obtain, accept, or receive an I-20

   20    or knowingly caused another person to obtain an I-20, which is

   21    a document described by statute and regulation as evidence of

   22    authorization to stay?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:     As we said before, you got an

   25    I-20 for another student and yourself and some, many other
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                                                                                    25


    1    students you recruited, correct?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. WATERSTREET:     And you admitted those I-20's

    4    are used to come back into the United States and remain in the

    5    United States, correct?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. WATERSTREET:     And that you knew that you

    8    obtained this I-20 by fraud because you were claiming that

    9    students were going to the school and you knew they were not

   10    going to the school?

   11                   THE DEFENDANT:     Yes.

   12                   MR. WATERSTREET:     And that you knowingly,

   13    voluntarily joined this agreement, you weren't forced to do

   14    this, correct?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. WATERSTREET:     You --     I'm sorry.     That was a

   17    double negative there.

   18                   Were you forced to do this?

   19                   THE DEFENDANT:     No, sir.

   20                   MR. WATERSTREET:     And as you, one of the members,

   21    you or one of the members of this conspiracy did one of the

   22    overt acts described in the indictment to help the conspiracy,

   23    correct?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. WATERSTREET:     I think that will cover the
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                                                                                   26


    1    factual basis, your Honor.        The Court already went through the

    2    time period of June of 2017 through January of 2019 and I would

    3    ask for the Court to take judicial notice that the University

    4    of Farmington is located here in the Eastern District of

    5    Michigan and he traveled here several times for meetings here

    6    in the Eastern District of Michigan.

    7                   THE COURT:    Okay.   Is that -- are you prepared to

    8    stipulate to that, Mr. Rataj?

    9                   MR. RATAJ:    We are prepared to stipulate to that,

   10    your Honor.

   11                   THE COURT:    Okay.

   12                   All right.    Mr. Rataj, do you have anything to add

   13    with regard to the factual basis at all?

   14                   MR. RATAJ:    Not to the factual basis, your Honor,

   15    but if may ask my client one question?

   16                   THE COURT:    Sure.

   17                   MR. RATAJ:    Mr. Nune, you heard the Assistant

   18    United States Attorney ask you a bunch of questions, correct?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. RATAJ:    Is there any question that he asked

   21    you that you would need the interpreter to help you understand

   22    the question or did you understand all the questions that Mr.

   23    Waterstreet asked you?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. RATAJ:    You understood all the questions?
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                                                                                   27


    1                   THE DEFENDANT:     I understand all the questions.

    2                   MR. RATAJ:    Okay.

    3                   THE COURT:    And so, just out of curiosity, where

    4    did you get the I-20 forms from?

    5                   THE DEFENDANT:     From the school, sir.

    6                   THE COURT:    From the school?

    7                   THE DEFENDANT:     Yeah.

    8                   THE COURT:    Okay.

    9                   MR. RATAJ:    That would have been from the

   10    undercover FBI agents, your Honor.

   11                   THE COURT:    Okay.    Okay.

   12                   MR. WATERSTREET:      They're actually customs agents.

   13                   MR. RATAJ:    Custom agents.

   14                   THE COURT:    Okay.    Customs agents.

   15                   All right.    So, Mr. Nune, your plea is guilty; is

   16    that correct, to the charge?

   17                   THE DEFENDANT:     Yes, sir.

   18                   THE COURT:    Okay.    All right.

   19                   Then, in this case the Court is going to find that

   20    the defendant is competent and capable of entering an informed

   21    plea, that he's aware of the nature of the charges and the

   22    consequences of the plea, and that the plea of guilty is a

   23    knowing and voluntary plea supported by an independent factual

   24    basis as to each of the essential elements of the offense and

   25    I'm therefore going to accept the defendant's plea and find
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    1    that he is guilty of the charge.

    2                   I'm going to refer the matter to the probation

    3    department for a presentence investigation and report, and I'm

    4    scheduling the sentencing for?

    5                   THE CASE MANAGER:      August 29th, 2019 at 2:30 p.m.

    6                   MR. RATAJ:    What day is that?

    7                   THE CASE MANAGER:      It's a Thursday.

    8                   MR. RATAJ:    Thursday.     Okay.

    9                   MR. WATERSTREET:      Your Honor, may I touch on two

   10    other subjects before we leave?

   11                   THE COURT:    Sure.    Well, do you have a problem

   12    with that date?

   13                   MR. WATERSTREET:      No.   No, I do not.      That's fine.

   14                   THE COURT:    All right.       Then, that will be the

   15    sentencing date.

   16                   All right.    Then, you have something else, Mr.

   17    Waterstreet?

   18                   MR. WATERSTREET:      Yes, I do.     Thank you, your

   19    Honor.

   20                   THE COURT:    All right.

   21                   MR. WATERSTREET:      There's also a forfeiture

   22    provision as part of the indictment and we have not touched on

   23    that.

   24                   THE COURT: Okay.

   25                   MR. WATERSTREET:      If I may address that?
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                                                                                   29


    1                   THE COURT:    Yes.

    2                   MR. WATERSTREET:      There is no agreement between

    3    the parties as to forfeiture.        However, as noted in the

    4    indictment we do intend to seek forfeiture of funds.

    5                   Mr. Nune's -- currency received from Mr. Nune's

    6    bank account in the amount of $2,789.35.           As Mr. Nune has

    7    already pointed out, he received a total of $7,500 directly

    8    from the undercover agents as, for his role in recruiting

    9    students as well as the additional $12,500 from the students.

   10                   So we will be seeking the forfeiture at the very

   11    least of the funds that were seized from his bank account and

   12    we will seek forfeiture of the balance, remaining balance.

   13                   THE COURT:    Okay.   All right.      You have any

   14    comment, Mr. Rataj?

   15                   MR. RATAJ:    Your Honor, just for the record, I

   16    received a bill of particulars regarding forfeiture yesterday,

   17    I think it was, and as I indicated to Mr. Waterstreet this

   18    morning, we will not be contesting the forfeiture.

   19                   So, if the appropriate order is forwarded to me,

   20    we'll sign them and do away with that issue.

   21                   THE COURT:    Okay.   All right.      And I've received a

   22    copy of the first forfeiture bill of particulars here, too, and

   23    I've had a chance to look at it and it seems to be correct.

   24                   So, we can finalize that at the sentencing date.

   25                   MR. WATERSTREET:      The last thing is, the defendant
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    1    understood that there was, I mentioned at the very beginning, I

    2    want to make sure he understands here at the very end.               There

    3    was a plea offer made to the defendant.           The offer was that he

    4    would not receive, we agreed to a basically variance from the

    5    guidelines and that he would have to be sentenced at least 12

    6    months.    We would have no objection to a sentence of a year and

    7    a day.

    8                   There were two benefits the government was getting

    9    as a result of that.      He was going to enter into a judicial

   10    order of removal to insure the government didn't have to spend

   11    any more of its resources seeking his deportation in the

   12    future.    I imagine Mr. Rataj will want to speak to that, and

   13    that was one of the benefits that would be gained and that was

   14    why we were willing to go down that road.           And I just wanted

   15    the Court to understand that was an offer that was made to him.

   16                   I know Mr. Rataj conveyed it to him.           As long as

   17    he understands that was available to him and he's waiving that,

   18    that was the last issue I wanted to bring to the Court's

   19    attention.

   20                   THE COURT:    Okay.

   21                   MR. RATAJ:    If I may comment on that, judge?

   22                   THE COURT:    Yes.

   23                   MR. RATAJ:    At the time of sentencing we will

   24    place on the record that he is not going to contest

   25    deportation.
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    1                   And all of the language that went in the Rule 11

    2    regarding deportation I will reiterate in a sentencing

    3    memorandum.     He is not going to be contesting deportation.

    4                   What I'm hoping for at the time of sentence is,

    5    quite frankly, your Honor, that he gets credit for time served

    6    and deportation process is start immediately.             That's the

    7    reason for the open plea.

    8                   THE COURT:    There's a possibility of that.           I

    9    don't know what I'm going to do.         That's a possibility.

   10                   MR. RATAJ:    I've made it very clear to the client,

   11    Mr. Nune, that there are no guarantees, but I wanted to keep

   12    that option open.      And so, that was the, that is the primary

   13    reason for the open plea, so the Court is fully aware.

   14                   But I will not, or we will not be contesting

   15    deportation at the time of sentencing.

   16                   THE COURT:    Okay.

   17                   MR. RATAJ:    And whatever orders, documents that

   18    need to be signed, Mr. Nune is prepared to sign those documents

   19    to start the deportation process as quickly as possible.

   20                   THE COURT:    Okay.

   21                   MR. RATAJ:    Now, I have one other request of the

   22    Court, your Honor, if I may, and that is with respect to the

   23    probation interview.      Given the fact that Mr. Nune is being

   24    housed in Midland and given the fact this is an extensive

   25    practice, I'm respectively requesting an additional 21 days to
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    1    conduct the presentence interview with probation.

    2                   THE COURT:    Okay.   And I don't have a problem with

    3    that.

    4                   MR. RATAJ:    All right.

    5                   THE COURT:    I think it might typically occur today

    6    because we're in the morning.

    7                   MR. RATAJ:    Unfortunately, I cannot do it this

    8    afternoon.

    9                   THE COURT:     That's not a problem.        That's not a

   10    problem.

   11                   So, I wonder if I need to make an adjustment and

   12    move the date out further another three weeks or you just want

   13    to see how it plays out?

   14                   MR. RATAJ:    No, I think that we should just go

   15    ahead.     I'll schedule this interview as quickly as I can.

   16                   THE COURT:    Okay.

   17                   MR. RATAJ:    I want to have a buffer, if you will.

   18                   THE COURT:    Okay.

   19                   MR. RATAJ:    Because I can't get it done in seven

   20    days like we're supposed to do.

   21                   THE COURT:    Okay.

   22                   MR. RATAJ:    But I'll do it as expeditiously as

   23    possible.     I don't really think that it's going to affect the

   24    sentencing date, quite frankly, since it's so far out.

   25                   THE COURT:    Okay.
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    1                   MR. RATAJ:     All right.

    2                   THE COURT:     And when you -- I assume you're doing

    3     that so you can be present for the presentence report.

    4                   MR. RATAJ:     We have to be present, your Honor.

    5                   THE COURT:     Okay.

    6                   MR. RATAJ:     We have to be present.

    7                   THE COURT:     And so, I'll let you schedule a date

    8     with my case manager and she'll be in touch with the probation

    9     department for the interview if you can't work it out with --

   10                   MR. RATAJ:     What I'm going to do, judge --

   11                   THE COURT:     Okay.

   12                   MR. RATAJ:     -- I'm going to go upstairs right now,

   13     find out who it is, give them a call, and say, here, here's my

   14     schedule, get your schedule out, and let's do this.              I just

   15     don't want to have a problem because I can't do it in seven

   16     days.

   17                   THE COURT:     And if you have any problem with that,

   18     give me a call.

   19                   MR. RATAJ:     I'll work this out, judge.         Like I

   20     said, I just want a buffer, that's all.

   21                   THE COURT:     All right.      Gentlemen, anything else

   22     we need to do or take up at this point?

   23                   I think I've accepted the plea, made some

   24     findings.    We've talked about the forfeiture matter, and I

   25     guess there's nothing else unless you all have something else?
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                                                                                      34


    1                   MR. WATERSTREET:       No, your Honor.      Thank you very

    2     much for your patience, your Honor.

    3                   MR. RATAJ:     We're all set, your Honor.         Thank you

    4     very much.

    5                   THE COURT:     All right.      Good enough.

    6                   THE CASE MANAGER:       All rise.

    7                   THE COURT:     And I guess we'll have the interpreter

    8     come back for sentencing just in case there's some issue.

    9                   MR. RATAJ:     Yes.

   10                   THE COURT:     Okay.    All right.    We'll be in recess.

   11                   THE CASE MANAGER:       Thank you.

   12             (At 10:49 a.m. proceedings concluded)

   13                              C E R T I F I C A T E

   14                  I, Merilyn J. Jones, Official Court Reporter of the

   15     United States District Court, Eastern District of Michigan,

   16     appointed pursuant to the provisions of Title 28, United States

   17     Code, Section 753, do hereby certify that the foregoing pages

   18     1-34, inclusive, comprise a full, true and correct transcript

   19     taken in the matter of the United States of America versus

   20     Aswanth Nune, 19-cr-20025 on Wednesday, May 8, 2019.

   21

   22                         /s/Merilyn J. Jones
                              Merilyn J. Jones, CSR, RPR
   23                         Federal Official Reporter
                              231 W. Lafayette Boulevard
   24                         Detroit, Michigan 48226

   25     Date: June 2, 2019
